      Case:17-03725-EAG11 Doc#:62 Filed:12/06/17 Entered:12/06/17 08:35:12                               Desc:
                        Employment Of Professional Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:
                                                            Case No. 17−03725 EAG
ELIZABETH VEGA RAMOS
MARTIN RODRIGUEZ COLON
                                                            Chapter 11

xxx−xx−8084
xxx−xx−1157
                                                            FILED & ENTERED ON 12/6/17

                        Debtor(s)



                                                       ORDER

The court having considered the application of the Debtor to employ Ed Danial Rivera Castillo and declaration in
support thereof, and it appearing that Ed Danial Rivera Castillo is a disinterested person and that the employment of
said appraiser is in the best interest of this estate, it is hereby

ORDERED that the Debtor herein is authorized to employ Ed Danial Rivera Castillo as appraiser, with compensation
to be paid in such amounts as may be allowed by the Court upon proper application and notice thereof.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Wednesday, December 6, 2017 .
